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                 EXHIBIT 1
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 1                    UNITED STATES DISTRICT COURT
 2                  NORTHERN DISTRICT OF CALIFORNIA
 3
 4    IN RE: ROUNDUP PRODUCTS            )
      LIABILITY LITIGATION               )
 5                                       )   MDL No. 2741
                                         )   Case No. 16-md-02741-VC
 6                                       )
                                         )
 7                                       )
      This Document Relates To:          )
 8                                       )
      Hardeman v. Monsanto Co.,          )
 9    et al.                             )
      Case No. 3:16-cv-00525-VC          )
10                                       )
                                         )
11
12                                  - - - -
13                              CONFIDENTIAL
14                               VIDEOTAPED
15                    DEPOSITION OF EDWIN HARDEMAN
16
17                      Held at the Vintners Inn
18            4350 Barnes Road, Santa Rosa, California
19             Thursday, November 8, 2018, 9:16 a.m.
20                                  - - - -
21
22
23
24
25    REPORTED BY:      ELAINA BULDA-JONES, CSR NO. 11720

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 1    Also present:
 2             Breana Pozzi, videographer

               Mary Hardeman
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 1          Q.     And when you did smoke, how -- how much
 2    did you smoke?
 3          A.     I don't know.       Jesus.    It's -- it's, you
 4    know -- you know, it's when you're -- during the
 5    day, I mean, I -- I don't know.            Let's see.
 6                 Prior to 1980, busy doing a lot of stuff.
 7    You don't really smoke, so I'd -- I would say -- I'm
 8    guessing -- I mean, I really don't know how much.
 9    It's -- half a pack, less than half a pack.                I don't
10    know.
11          Q.     When did you start smoking?
12          A.     Jeez, I don't recall.         My God.
13          Q.     What age?
14          A.     It could have been late teens or -- I
15    mean, like, 20s or -- I went in the Army, you know,
16    but there at the beginning of smoking -- let's see.
17                 I don't know.       I don't know when I began.
18    I mean, specifically, I mean, you know, roundabout,
19    approximately.
20          Q.     Approximately when did you start smoking?
21          A.     I don't know.       I'd say 18, 19.       I don't
22    know, no.     Just throwing that out there.
23          Q.




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